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Case: 16-53499   Doc# 177   Filed: 05/01/18   Entered: 05/01/18 17:33:27   Page 2 of
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Case: 16-53499   Doc# 177   Filed: 05/01/18   Entered: 05/01/18 17:33:27   Page 3 of
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                                   EXHIBIT 1




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                                         30
Re: Codici
email: "federico.gamma@gmail.com federico gamma"               Tuesday, April 26, 2011 at 11:26:39 AM Pacific Daylight Time
To: email: "niels.juul@cgglobalmedia.com Niels Juul"


Ok.



Non fare niente, parla con GABI.



CIAO


Il giorno 26 aprile 2011 20:20, Niels Juul <niels.juul@cgglobalmedia.com> ha scritto:




  ok. Parlo con Gabi quando arriva per capire melgio.



  Ciao



  Niels




  From: federico gamma [mailto:federico.gamma@gmail.com]
  Sent: Tuesday, April 26, 2011 11:18 AM

  To: Niels Juul
  Subject: Re: Codici




            Case: 16-53499      Doc# 177     Filed: 05/01/18     Entered: 05/01/18 17:33:27        Page 5 of
                                                          30
Niels




ok questi per Vittorio.




Gabi ha detto che dovranno arrivare prossima settimana altri. Questi dovranno essere bonificati alla
società che ti ho scritto.




Comunque, conserva i dati che ti ho scritto nella mail di prima, che Gabi quando arriverà ti spiegherà.




Ciao




Il giorno 26 aprile 2011 20:13, Niels Juul <niels.juul@cgglobalmedia.com> ha scritto:




Ciao Federico,

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                                                     30
Ho bena ordinato un transferimento al conto Vittorio a First Credit per i 100.000 come previsto. Cosa faccio
- Cancello ?




From: federico gamma [mailto:federico.gamma@gmail.com]
Sent: Tuesday, April 26, 2011 11:06 AM

To: niels.juul@cgglobalmedia.com
Subject: Codici




Ciao Niels,




sono Federico, spero tu stia bene.




Mi è stato detto da G & G di comunicarti i seguenti estremi bancari dove bonificare i prossimi $ 100.000.


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                                                        30
Shiba Limited - Hong Kong




Barclay Bank Plc, London, Uk




IBAN: GB88 BARC 2047 3575 8034 11




Conto n°: 75803411




Sort code: 20-47-35




Swift - BIC: BARCGB22




Saluti




Federico

--

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     Case: 16-53499   Doc# 177   Filed: 05/01/18   Entered: 05/01/18 17:33:27   Page 9 of
                                              30
                                   EXHIBIT 2




Case: 16-53499   Doc# 177   Filed: 05/01/18 Entered: 05/01/18 17:33:27   Page 10 of
                                         30
dimenticavo
email: "federico.gamma@gmail.com federico gamma"           Tuesday, April 26, 2011 at 11:08:11 AM Pacific Daylight Time
To: email: "niels.juul@cgglobalmedia.com"


Ho dimenticato di dirti che Gabi, al suo arrivo, ti confermerà tutto.



CIAO

--
c/o Studio Legale Nappi,
V.le Umberto Tupini, 88 - 00144 Roma
tel: +39 06 5923457
fax: +39 06 5923521

Studio Mariani & Partners
Via A. Gramsci, 9
00197 - Roma

tel: +39 06 3610885
fax: +39 06 3236476

Phd - Student, Economia e Finanza nel Governo dell'Impresa
Dipartimento di Management e Tecnologia
Facoltà di Economia, Università degli Studi di Roma "La Sapienza"

Via del Castro Laurenziano, 9 - 00161 Roma




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                                   EXHIBIT 3




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                                         30
Confidential
email: "avvgiovanninappi@gmail.com giovanni nappi" Friday, March 30, 2012 at 3:09:56 AM Pacific Daylight Time
To: email: "niels.juul@cgglobalmedia.com Niels Juul" , email: "g.israilovici@isinvest.com Gabrielle"


Ciao Niels,
ieri sera ho incontrato il Dott. Moretti della Benten Srl (beneficiari del concordato fallimentare
FINMAVI).
Mi ha detto che è stato contattato dall'Avv. Maurizio Canfora (ex avvocato di Vittorio), in quanto è
stato nominato da Gianni Nunnari quale suo avvocato.

Mi ha riferito che Nunnari avrebbe proposto alla Benten $ 10.000.000 USD, per chiudere la questione.
Insieme abbiamo deciso di risolvere alcune questioni importanti e di fare noi un accordo:
1. transazione dei debiti che NOUS ha verso FINMAVI;

2. transazione che CG USA e CG Pictures hanno verso FINMAVI.
Prima di tutto, però, occorre far stabilire dal Giudice di Los Angeles che le società CG USA e CG
Pictures sono sotto il controllo di VCG e non della Nous (controllante la CG Europe BV, oggi chiusa).

Solo così la firma di VCG è valida, in tutti gli accordi.
Come vedi, ancora una volta il problema è sempre lo stesso e l'Avv. Wolf ha sbagliato a rimandare
questa questione.
Adesso la situazione è ancora più delicata e urgente, pertanto, quanto prima verrò a LA per parlare
con un avvocato che nominerò a VCG.

Poi, c'è una altra questione importante, che solo tu puoi risolvere: DARO.
Pierre ha scritto alla banca della società beneficiaria del bonifico che devono restituire i soldi, perchè
hanno sbagliato a pagare.

Io ho fatto una figura di merda e vorrei che il problema fosse risolto quanto prima.
Per favore trova la soluzione, al più presto.
Io credo che si possa fare una cessione del contratto alla società Shiba Ltd, così contabilmente è
tutto ok e Pierre può continuare a pagare senza problemi.

Purtroppo comprendo che l'Avv. Wolf non è d'accordo, ma lui non è in grado di gestire questa
situazione, lui si è dimostrato poco intelligente.
Fammi sapere.
Giovanni


TRANSLATION:

Hello Niels,

Yesterday evening I met with Dr. Moretti Srl Benten's (beneficiary's bankruptcy agreed Finmavi).

He said he was contacted by the attorney lawyer Maurizio Canfora (former lawyer Vittorio), as was
appointed by Gianni Nunnari as his lawyer.
     Case: 16-53499       Doc# 177     Filed: 05/01/18 Entered: 05/01/18 17:33:27          Page 13 of
                                                    30
Moretti told me that Nunnari proposed to Benten $ 10,000,000 USD, to close the question.

Together we decided to resolve some important issues and to make us a deal:

1. settlement of debts that have to NOUS Finmavi;

2. transaction USA CG and CG Pictures have to Finmavi.

First of all, however, must be established by the judge in Los Angeles that the companie CG USA and
CG Pictures are under the control of VCG and not of Nous (the parent CG Europe BV, now closed).

Only then the signature of VCG is valid, in all the agreements.
You see, once again the problem is always the same and the att. Wolf was wrong to delay this issue.

Now the situation is more delicate and urgent, therefore, as soon as I come to LA to talk to a lawyer
who will appoint a VCG.

Then, there is another important question that only you can solve: DARO.

Pierre wrote to the bank that the company receiving the transfer must return the money, because they
were wrong to pay.

I made a figure of shit and I wish the problem was resolved quickly.

Please find the solution soon.
I believe you can make a transfer of the contract to the company Shiba Ltd, so accounting is all ok
and Pierre can continue to pay without problems.

Unfortunately I understand that the att. Wolf does not agree, but he is not able to handle this situation,
he has proved unwise.

Let me know.
Giovanni
Annulla modifiche




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                                                   30
Fai clic per visualizzare le traduzioni alternative

Trascina tenendo premuto MAIUSC per riordinare.




email: "niels.juul@cgglobalmedia.com Niels Juul"          Monday, April 2, 2012 at 9:51:24 AM Pacific Daylight Time
To: email: "avvgiovanninappi@gmail.com giovanni nappi" , email: "g.israilovici@isinvest.com Gabrielle"




Dear Giovanni and Gabi.




I think we expected that Nunnari (Salussolia) would always go to Benten. However, they obviously
have no right to do so and we could in fact send them a notice of interference in company affairs.
Even Benten should not have any right now to meet with Nunnari and discuss matters relating to
Cecchi Gori. I know we are friendly with Benten, but perhaps we should have something official from
our lawyers not to interfere in communication with Nunnari. We can argue to the judge, that Nunnari is
interfering in our business, which is illegal.



I understand the procedure with regards to Nous and Finmavi, etc. However it seems like this will be a
long and difficult transaction.

Surely Nous will contest this and it sounds like eventually this will end up in court here in Los
Angeles. In the meantime I think it is very important to maintain a friendly relationship with Nous and
work under the same terms we had for the last few months.



Perhaps you can give me some dates and a timeline for these actions in Italy and when you think it
will be resolved.

What is important for both Benten and everyone to understand that the judgment against Nunnari is
owned by Cecchi Gori USA / Pictures and that Nunnari has no right to talk to anyone that is not in
control. And the control is with Vittorio as a director and me as officer. He has zero right to talk to
Benten or anyone else and if you agree, I will have our lawyers send a nasty letter to Nunnari's
lawyers. If you can give me Canfora's address I will take care of that. I have also asked Rosenbaum
to speed up as much as possible the sale of the two big houses !




      Case: 16-53499       Doc# 177      Filed: 05/01/18 Entered: 05/01/18 17:33:27             Page 15 of
                                                      30
With regards to Daro, there remains a big problem: The US government. Friday I checked with the
accountants and they have great concerns: As you know the library has been on the books of Cecchi
Gori Pictures and USA for many years and as such has been listed with the value on the books of the
company. When "all of a sudden" these values dissapear, you will certainly set yourself up for a tax-
audit. How do you then want to explain this transaction ? It is the obligation of the CEO (me) in front of
the IRS to make sure that taxes are paid on gains and that assets are held correctly within the
company. Both me and Vittorio are therefore personally responsible to make sure that these assets
are protected in the interest of the company and that taxes are paid on the sale of assets. The fact
that the company is selling this library, but the money never arrives in the business is of course a
major issue. I am sure you have similar rules in Italy. So it is not simple at all. I know you are asking
me to "fix" the problem, but I am sure you appreciate the fiduciary responsibility I have and that
obviously I cannot do anything that gets me in trouble with either the government, Daro, or anyone
else.



The accountants and the lawyers say that there is a big legal risk for Vittorio personally, in front of the
US government.

The other issue is Nous, who will certainly contest this transaction in the event there will be a trial
about ownership in Los Angeles and it will look very bad in front of judge Hogue, if the payments from
Daro don't come into Cecchi Gori USA. If Nous can show that Vittorio moved money away from the
company to a company called Shiba - it will look very bad, because it will look like he is trying to hide
something. I hope you know that in the event of a trial, that the judge will demand (like they did with
Nunnari) that we provide all information and that they surely will go to Daro - eventually - to ask for
evidence. I trust that Vittorio has informed Daro about everything.




Daro has to pay the company that is selling the assets and that is Cecchi Gori Pictures / USA. I
thought that what Gabi mentioned originally was that Daro had offered Vittorio a consultancy
agreement and that Vittorio was selling some films from Italy that was not part of the US library
(maybe Jonny Stecchino ?). I thought Shiba is Vittorios company that handles his film-activity in
Europe. Is that right ?




The last thing to remember for everyone is the question of transfer of ownership. I think it is important
for everyone to understand that if ownership of the companies changes (owner is Cecchi Gori Europa
BV, right ?) then the company will loose most of its tax losses, which are over 20 million dollars. This
means that whatever will be collected from Nunnari will then be subject to 35 % tax by the US
government. I have said this 200 times, but no one seems to understand or listen.




These issues are very complicated here and as you know the legal system in America moves much
faster than in Italy. For Nous to obtain an injunction against the company, is not difficult. It is therefore
     Case: 16-53499       Doc# 177     Filed: 05/01/18 Entered: 05/01/18 17:33:27           Page 16 of
                                                    30
critical that we operate correctly and smartly, until such time that the ownership issue of these
companies is finally resolved. And it looks like the ownership issues still has to be resolved in front of
the judge in LA. But without a clarity in Italy and change in Holland, she is likely to rule in the favor of
Nous. We therefore need to stay out of court for a long as possible, until the issues in Italy are clear.
Working openly with Nous is the only way to stay out of court.




I know that I have said it many times, but I guess I should repeat it one more time - just in case: Why
start a fight now with Nous, when there is little to fight over ? Why not wait until there has been real
money collected from Nunnari (the sale of the big houses, etc) and then fight over the ownership. The
original idea of collecting and parking the money in escrow until the ownership issue is resolved is still
the very best option. That way Nunnari won't have a chance to claim that he does not know who to
pay (and stop the collecting) and Scorsese will not have a chance to claim that the agreement on
Silence is not valid. If everyone would try not be emotional or desperate and be patient - this is the
only right solution. If Nous and Cecchi Gori fight now in court the only winner will be Nunnari !
Of course Vittorio needs a personal lawyer and needs to state his case here in LA, but if you are
confident to prove that Vittorio is the final owner, then you should be confident about putting the
money in escrow and not do anything that will eventually look bad for you and Vittorio. . Please
remember that Vittorio is due one million dollar in PERSONAL producer fee sometime in August.
Even if Scorsese does another film first, we will be able to claim that the payment has to be made. If
on the other hand there is a dispute of the ownership of the company, in front of a judge in LA, then it
could give Scorsese a legal excuse to claim not to pay !! You might find a lawyer (who wants to make
money) who will tell you that all these problems are easy to solve and that he can make it all go
away. You know how many times we have heard that before !




I therefore strongly urge you to re-consider the Daro issue and make sure that the funds will be paid
to the US companies.




With regards to the Wolf firm, I have to say that they have done a great job for us and I can
understand their concerns, with all this stuff going on. It is therefore also critical not to let arguments
and personal issues, interfere with the business and what we are all trying to achieve.




We have all worked very hard - including you - and there has been too much stress and problems, not
to win in the end. I think therefore it is so important that we do things correctly, so we still will have a
chance in the end to win the big prize.




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                                                    30
Please call me any time to discuss.




Best regards



Niels




From: giovanni nappi [mailto:avvgiovanninappi@gmail.com]

Sent: Friday, March 30, 2012 3:10 AM
To: Niels Juul; Gabrielle
Subject: Confidential




Ciao Niels,


ieri sera ho incontrato il Dott. Moretti della Benten Srl (beneficiari del concordato fallimentare
FINMAVI).

Mi ha detto che è stato contattato dall'Avv. Maurizio Canfora (ex avvocato di Vittorio), in quanto è
stato nominato da Gianni Nunnari quale suo avvocato.



Mi ha riferito che Nunnari avrebbe proposto alla Benten $ 10.000.000 USD, per chiudere la questione.

Insieme abbiamo deciso di risolvere alcune questioni importanti e di fare noi un accordo:



1. transazione dei debiti che NOUS ha verso FINMAVI;

2. transazione che CG USA e CG Pictures hanno verso FINMAVI.

Prima di tutto, però, occorre far stabilire dal Giudice di Los Angeles che le società CG USA e CG
Pictures sono sotto il controllo di VCG e non della Nous (controllante la CG Europe BV, oggi chiusa).

        Case: 16-53499    Doc# 177     Filed: 05/01/18 Entered: 05/01/18 17:33:27         Page 18 of
                                                    30
Solo così la firma di VCG è valida, in tutti gli accordi.

Come vedi, ancora una volta il problema è sempre lo stesso e l'Avv. Wolf ha sbagliato a rimandare
questa questione.



Adesso la situazione è ancora più delicata e urgente, pertanto, quanto prima verrò a LA per parlare
con un avvocato che nominerò a VCG.

Poi, c'è una altra questione importante, che solo tu puoi risolvere: DARO.



Pierre ha scritto alla banca della società beneficiaria del bonifico che devono restituire i soldi, perchè
hanno sbagliato a pagare.

Io ho fatto una figura di merda e vorrei che il problema fosse risolto quanto prima.



Per favore trova la soluzione, al più presto.

Io credo che si possa fare una cessione del contratto alla società Shiba Ltd, così contabilmente è
tutto ok e Pierre può continuare a pagare senza problemi.



Purtroppo comprendo che l'Avv. Wolf non è d'accordo, ma lui non è in grado di gestire questa
situazione, lui si è dimostrato poco intelligente.

Fammi sapere.



Giovanni



TRANSLATION:




Hello Niels,
Yesterday evening I met with Dr. Moretti Srl Benten's (beneficiary's bankruptcy agreed Finmavi).



He said he was contacted by the attorney lawyer Maurizio Canfora (former lawyer Vittorio), as was
appointed by Gianni Nunnari as his lawyer.

     Case: 16-53499       Doc# 177      Filed: 05/01/18 Entered: 05/01/18 17:33:27        Page 19 of
                                                     30
Moretti told me that Nunnari proposed to Benten $ 10,000,000 USD, to close the question.

Together we decided to resolve some important issues and to make us a deal:

1. settlement of debts that have to NOUS Finmavi;

2. transaction USA CG and CG Pictures have to Finmavi.

First of all, however, must be established by the judge in Los Angeles that the companie CG USA and
CG Pictures are under the control of VCG and not of Nous (the parent CG Europe BV, now closed).

Only then the signature of VCG is valid, in all the agreements.
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who will appoint a VCG.

Then, there is another important question that only you can solve: DARO.

Pierre wrote to the bank that the company receiving the transfer must return the money, because they
were wrong to pay.

I made a figure of shit and I wish the problem was resolved quickly.

Please find the solution soon.
I believe you can make a transfer of the contract to the company Shiba Ltd, so accounting is all ok
and Pierre can continue to pay without problems.

Unfortunately I understand that the att. Wolf does not agree, but he is not able to handle this situation,
he has proved unwise.

Let me know.
Giovanni

Annulla modifiche

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Fai clic per visualizzare le traduzioni alternative



Trascina tenendo premuto MAIUSC per riordinare.




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                                                    30
email: "avvgiovanninappi@gmail.com giovanni nappi" Monday, April 2, 2012 at 10:56:43 AM Pacific Daylight Time
To: email: "niels.juul@cgglobalmedia.com Niels Juul"
Cc: email: "g.israilovici@isinvest.com Gabrielle"


Niels, tomorrow I have a meeting with all the Benten associates in Bologna. They don't want to speak
with Nunnari but only with us. Nunnari's lawyer in Italy is Avvocato Francesco Arangio (Graziadei
firm), and asap I will give you his address (Canfora could not represent Nunnari as he had been
VCG's attorney)

The timing for an agreement with Benten will be brief (by the end of April) and therefore we are
already studying a way to have the guardians revoked in a short time.
I agree with you on keeping good terms with everyone and on sending a nasty letter to Nunnari's
lawyers.

As far as the sale of Nunnari's houses, it' important that they are not cheaply sold. Otherwise we
could imagine to take them ourselves in exchance of what they are worth.
As for Daro, I agree with you that taxes must be payed and for this the CG USA will receive the
money to pay them (or they will withold it from a rate of Daro).

The solution exists for every problem and it must be found.
Nothing must be shown to Nous, because before then we will have the document that will prove the
property of the two Companies of VCG.

In any case, it's better to lose tax losses than to give away to Nous the companies!
Anyhow we will discuss these issues very soon in person.
Best
Giovanni


Il giorno 02 aprile 2012 18:51, Niels Juul <niels.juul@cgglobalmedia.com> ha scritto:


  Dear Giovanni and Gabi.




  I think we expected that Nunnari (Salussolia) would always go to Benten. However, they obviously
  have no right to do so and we could in fact send them a notice of interference in company affairs.
  Even Benten should not have any right now to meet with Nunnari and discuss matters relating to
  Cecchi Gori. I know we are friendly with Benten, but perhaps we should have something official
  from our lawyers not to interfere in communication with Nunnari. We can argue to the judge, that
  Nunnari is interfering in our business, which is illegal.




  I understand the procedure with regards to Nous and Finmavi, etc. However it seems like this will
  be a long and difficult transaction.

  Surely Nous will contest this and it sounds like eventually this will end up in court here in Los
     Case: 16-53499       Doc# 177     Filed: 05/01/18 Entered: 05/01/18 17:33:27          Page 21 of
                                                    30
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Perhaps you can give me some dates and a timeline for these actions in Italy and when you think it
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What is important for both Benten and everyone to understand that the judgment against Nunnari is
owned by Cecchi Gori USA / Pictures and that Nunnari has no right to talk to anyone that is not in
control. And the control is with Vittorio as a director and me as officer. He has zero right to talk to
Benten or anyone else and if you agree, I will have our lawyers send a nasty letter to Nunnari's
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Rosenbaum to speed up as much as possible the sale of the two big houses !




With regards to Daro, there remains a big problem: The US government. Friday I checked with the
accountants and they have great concerns: As you know the library has been on the books of
Cecchi Gori Pictures and USA for many years and as such has been listed with the value on the
books of the company. When "all of a sudden" these values dissapear, you will certainly set yourself
up for a tax-audit. How do you then want to explain this transaction ? It is the obligation of the CEO
(me) in front of the IRS to make sure that taxes are paid on gains and that assets are held correctly
within the company. Both me and Vittorio are therefore personally responsible to make sure that
these assets are protected in the interest of the company and that taxes are paid on the sale of
assets. The fact that the company is selling this library, but the money never arrives in the business
is of course a major issue. I am sure you have similar rules in Italy. So it is not simple at all. I know
you are asking me to "fix" the problem, but I am sure you appreciate the fiduciary responsibility I
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The accountants and the lawyers say that there is a big legal risk for Vittorio personally, in front of
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The other issue is Nous, who will certainly contest this transaction in the event there will be a trial
about ownership in Los Angeles and it will look very bad in front of judge Hogue, if the payments
from Daro don't come into Cecchi Gori USA. If Nous can show that Vittorio moved money away
from the company to a company called Shiba - it will look very bad, because it will look like he is
trying to hide something. I hope you know that in the event of a trial, that the judge will demand
(like they did with Nunnari) that we provide all information and that they surely will go to Daro -
eventually - to ask for evidence. I trust that Vittorio has informed Daro about everything.




   Case: 16-53499      Doc# 177     Filed: 05/01/18 Entered: 05/01/18 17:33:27          Page 22 of
                                                 30
Daro has to pay the company that is selling the assets and that is Cecchi Gori Pictures / USA. I
thought that what Gabi mentioned originally was that Daro had offered Vittorio a consultancy
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(maybe Jonny Stecchino ?). I thought Shiba is Vittorios company that handles his film-activity in
Europe. Is that right ?




The last thing to remember for everyone is the question of transfer of ownership. I think it is
important for everyone to understand that if ownership of the companies changes (owner is Cecchi
Gori Europa BV, right ?) then the company will loose most of its tax losses, which are over 20
million dollars. This means that whatever will be collected from Nunnari will then be subject to 35 %
tax by the US government. I have said this 200 times, but no one seems to understand or listen.




These issues are very complicated here and as you know the legal system in America moves much
faster than in Italy. For Nous to obtain an injunction against the company, is not difficult. It is
therefore critical that we operate correctly and smartly, until such time that the ownership issue of
these companies is finally resolved. And it looks like the ownership issues still has to be resolved in
front of the judge in LA. But without a clarity in Italy and change in Holland, she is likely to rule in
the favor of Nous. We therefore need to stay out of court for a long as possible, until the issues in
Italy are clear. Working openly with Nous is the only way to stay out of court.




I know that I have said it many times, but I guess I should repeat it one more time - just in case:
Why start a fight now with Nous, when there is little to fight over ? Why not wait until there has been
real money collected from Nunnari (the sale of the big houses, etc) and then fight over the
ownership. The original idea of collecting and parking the money in escrow until the ownership
issue is resolved is still the very best option. That way Nunnari won't have a chance to claim that he
does not know who to pay (and stop the collecting) and Scorsese will not have a chance to claim
that the agreement on Silence is not valid. If everyone would try not be emotional or desperate and
be patient - this is the only right solution. If Nous and Cecchi Gori fight now in court the only
winner will be Nunnari ! Of course Vittorio needs a personal lawyer and needs to state his case
here in LA, but if you are confident to prove that Vittorio is the final owner, then you should be
confident about putting the money in escrow and not do anything that will eventually look bad for
you and Vittorio. . Please remember that Vittorio is due one million dollar in PERSONAL producer
fee sometime in August. Even if Scorsese does another film first, we will be able to claim that the
payment has to be made. If on the other hand there is a dispute of the ownership of the company, in
front of a judge in LA, then it could give Scorsese a legal excuse to claim not to pay !! You might
find a lawyer (who wants to make money) who will tell you that all these problems are easy to solve
and that he can make it all go away. You know how many times we have heard that before !

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I therefore strongly urge you to re-consider the Daro issue and make sure that the funds will be
paid to the US companies.




With regards to the Wolf firm, I have to say that they have done a great job for us and I can
understand their concerns, with all this stuff going on. It is therefore also critical not to let arguments
and personal issues, interfere with the business and what we are all trying to achieve.




We have all worked very hard - including you - and there has been too much stress and problems,
not to win in the end. I think therefore it is so important that we do things correctly, so we still will
have a chance in the end to win the big prize.




Please call me any time to discuss.




Best regards



Niels




From: giovanni nappi [mailto:avvgiovanninappi@gmail.com]


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                                                  30
Sent: Friday, March 30, 2012 3:10 AM
To: Niels Juul; Gabrielle
Subject: Confidential




Ciao Niels,




ieri sera ho incontrato il Dott. Moretti della Benten Srl (beneficiari del concordato fallimentare
FINMAVI).

Mi ha detto che è stato contattato dall'Avv. Maurizio Canfora (ex avvocato di Vittorio), in quanto è
stato nominato da Gianni Nunnari quale suo avvocato.




Mi ha riferito che Nunnari avrebbe proposto alla Benten $ 10.000.000 USD, per chiudere la
questione.

Insieme abbiamo deciso di risolvere alcune questioni importanti e di fare noi un accordo:




1. transazione dei debiti che NOUS ha verso FINMAVI;

2. transazione che CG USA e CG Pictures hanno verso FINMAVI.

Prima di tutto, però, occorre far stabilire dal Giudice di Los Angeles che le società CG USA e CG
Pictures sono sotto il controllo di VCG e non della Nous (controllante la CG Europe BV, oggi
chiusa).




Solo così la firma di VCG è valida, in tutti gli accordi.

Come vedi, ancora una volta il problema è sempre lo stesso e l'Avv. Wolf ha sbagliato a rimandare
questa questione.




Adesso la situazione è ancora più delicata e urgente, pertanto, quanto prima verrò a LA per parlare
con un avvocato che nominerò a VCG.

Poi, c'è una altra questione importante, che solo tu puoi risolvere: DARO.



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                                                                                                      .




Pierre ha scritto alla banca della società beneficiaria del bonifico che devono restituire i soldi,
perchè hanno sbagliato a pagare.

Io ho fatto una figura di merda e vorrei che il problema fosse risolto quanto prima.




Per favore trova la soluzione, al più presto.

Io credo che si possa fare una cessione del contratto alla società Shiba Ltd, così contabilmente è
tutto ok e Pierre può continuare a pagare senza problemi.




Purtroppo comprendo che l'Avv. Wolf non è d'accordo, ma lui non è in grado di gestire questa
situazione, lui si è dimostrato poco intelligente.


Fammi sapere.



Giovanni



TRANSLATION:




Hello Niels,
Yesterday evening I met with Dr. Moretti Srl Benten's (beneficiary's bankruptcy agreed Finmavi).




He said he was contacted by the attorney lawyer Maurizio Canfora (former lawyer Vittorio), as was
appointed by Gianni Nunnari as his lawyer.


Moretti told me that Nunnari proposed to Benten $ 10,000,000 USD, to close the question.

Together we decided to resolve some important issues and to make us a deal:

1. settlement of debts that have to NOUS Finmavi;

2. transaction USA CG and CG Pictures have to Finmavi.

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First of all, however, must be established by the judge in Los Angeles that the companie CG
USA and CG Pictures are under the control of VCG and not of Nous (the parent CG Europe BV,
now closed).


Only then the signature of VCG is valid, in all the agreements.
You see, once again the problem is always the same and the att. Wolf was wrong to delay this
issue.


Now the situation is more delicate and urgent, therefore, as soon as I come to LA to talk to a lawyer
who will appoint a VCG.


Then, there is another important question that only you can solve: DARO.

Pierre wrote to the bank that the company receiving the transfer must return the money, because
they were wrong to pay.


I made a figure of shit and I wish the problem was resolved quickly.

Please find the solution soon.
I believe you can make a transfer of the contract to the company Shiba Ltd, so accounting is all ok
and Pierre can continue to pay without problems.


Unfortunately I understand that the att. Wolf does not agree, but he is not able to handle this
situation, he has proved unwise.


Let me know.
Giovanni

Annulla modifiche

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[          ][Button]

Fai clic per visualizzare le traduzioni alternative




Trascina tenendo premuto MAIUSC per riordinare.



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                                   EXHIBIT 4




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                                         30
           From: "Gabriele" <g.israilovici@isinvest.com>
           Date: June 15, 2012 at 8:46:10 AM PDT
           To: <niels.juul@cgglobalmedia.com>, <niels.juul@nofatego.com>
           Subject: R: daro

           Chiama giovanni quando hai tempo
           saluti

           Da: giovanni nappi [mailto:avvgiovanninappi@gmail.com]
           Inviato: venerdì 15 giugno 2012 17:35
           A: Niels Juul
           Cc: Gabrielle
           Oggetto: Re: daro

           Come comunicato dopo che Pierre ha fatto quel casino, Shiba ha
           chiuso i rapporti.
           A questo punto ho fatto predisporre una cessione del credito da Shiba
           a Pippin e lunedi avrò la fattura, con le coordinate del conto dove fare
           il bonifico.
           Pertanto, per favore, avvisa Pierre del problema, causato da lui e
           speriamo che non faccia lo stronzo anche questa volta.
           Ciao
           Giovanni

           Il giorno 15 giugno 2012 16:23, giovanni nappi
           <avvgiovanninappi@gmail.com> ha scritto:
           Niels,
           Ho un problema il c/c di Shiba dopo le ultime vicende e' stato chiuso.
           Aspetta mie nuove comunicazioni per favore.
           Ciao




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